 Case 3:19-cv-01170-SMY Document 14 Filed 10/19/20 Page 1 of 7 Page ID #43




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
vs.                                             )    Civil No. 19-cv-1170-SMY
                                                )
MARILYN F. ROBERTS, CITY OF                     )
HARRISBURG, ILLINOIS, and STATE OF              )
ILLINOIS DEPARTMENT OF REVENUE,                 )
                                                )
       Defendants.                              )

                          JUDGMENT DECREE AND ORDER
                     DIRECTING SALE OF MORTGAGED PROPERTY

       This cause coming on to be heard upon the plaintiff's complaint, and an order of default

having been entered against the Defendants, the Court finds:

       1.      That it has jurisdiction of the parties to and subject matter of this suit. The

Defendants have each been properly served and having failed to answer or otherwise enter any

appearance herein, although the time for answering having expired, are ordered defaulted.

       2.      The United States of America, acting through the United States Department of

Agriculture, Rural Development (formerly Farmers Home Administration), made a loan to

Marilyn F. Roberts, secured by a mortgage dated September 6, 1990 (Ex. A of the complaint), in

the total principal amount of $35,000.00. The mortgage was recorded on September 6, 1990, in

Mortgage Record Book 872, Pages 15-18, Saline County, Illinois. That loan is evidenced by a

promissory note dated September 6, 1990 (Ex. B). Defendant, Marilyn F. Roberts, defaulted on

the note. On April 27, 2016, the United States of America, acting through the United States

Department of Agriculture, Rural Development, issued a notice of acceleration (Ex. C).



                                               -1-
 Case 3:19-cv-01170-SMY Document 14 Filed 10/19/20 Page 2 of 7 Page ID #44




       3.      That the following are the names of persons that who that may have claimed an

interest in the above described property, but who are foreclosed from asserting their claim, if any,

because of their default in this action: Marilyn F. Roberts, City of Harrisburg, Illinois, and State

of Illinois Department of Revenue

       4.      That by virtue of the mortgage and indebtedness thereby secured, the plaintiff,

United States of America, has a valid and subsisting lien as follows:

               Common address: 89 Dallas Drive, Harrisburg, Illinois 62946

               Lot 89 in the 2nd Plat of Country Club Hills, being a Subdivision of a part of the
               Southeast Quarter (SE¼) of the Northeast Quarter (NE¼) of Section Twenty-two
               (22) Township Nine (9) South, Range Six (6) East of the Third Principal
               Meridian, EXCEPT the Coal, Oil, Gas and other Minerals.

               Subject to grant of easement for water pipe line dated June 15, 1956, and recorded
               March 28, 1951 at Miscellaneous Record 2, Page 612 of the Saline County
               Recorder's Office, said easement being granted to Thomas J. Wolf and Margaret
               Gertrude Wolf; also subject to Protective Restrictions to the Second Plat of
               Country Club Hills dated January 10, 1966 and recorded February 24, 1966 at Plat
               Book 1 Page 4 of the Saline County Recorder's Office; also Subject to all
               outstanding easements, rights-of-way mineral leases, mineral reservations and
               mineral conveyances of record; and subject to general real estate taxes for 1989 and
               1990, due and payable in 1990 and 1991 respectively.

               Subject to all outstanding easements, rights-of-way, mineral leases, mineral
               reservations and mineral conveyances of record.

               Property ID: 06-2-087-02

       5.      That by virtue of the mortgage and the indebtedness thereby secured, as alleged in

the Complaint, there is due the plaintiff, the United States of America, as follows:

               (a)     For its own use and benefit for the costs of this suit and for:

                       U.S. Attorney's docket and recording fees ............                   $   455.00

                       U.S. Marshals costs for service of summons ........                      $   435.24

                       Interest on Fees .....................................................   $ 2,254.72

                                                          -2-
Case 3:19-cv-01170-SMY Document 14 Filed 10/19/20 Page 3 of 7 Page ID #45




                Title expenses .......................................................         $   575.00

                Escrow Expenses .................................................              $12,089.44

                TOTAL                ............................................... ……        $15,809.40

          (b)   For the use and benefit of the plaintiff, holder of the note secured by the
                mortgage aforesaid, but subject and subordinate to the lien for payment of
                the items mentioned in subparagraph (a) of this paragraph:

                Unpaid principal balance ......................................                $15,944.14

                Accrued interest at $7.0542 per day due and
                unpaid as of March 17, 2020.................................                   $ 7,465.79

                TOTAL                .......................................................   $23,409.93

                Total amount due plaintiff as of March 17, 2020,
                Including costs detailed in 5(a) .............................                 $39,219.33

          (c)   In addition, the plaintiff may be compelled to advance various sums of
                money in payment of costs, fees, expenses and disbursements incurred in
                connection with the foreclosure, including, without limiting the generality
                of the foregoing, filing fees, stenographer's fees, witness fees, costs of
                publication, costs of procuring and preparing documentary evidence and
                costs of procuring abstracts of title, certificates, foreclosure minutes and a
                title insurance policy.

          (d)   Under the terms of the mortgage, all such advances, costs and other fees,
                expenses and disbursements are made a lien upon the mortgaged real estate
                and the plaintiff is entitled to recover all such advances, costs, expenses and
                disbursements, together with interest on all advances at the rate provided in
                the mortgage, or, if no rate is provided therein, at the statutory judgment
                rate, from the date on which such advances are made.

          (e)   In order to protect the lien of the mortgage, it may or has become necessary
                for plaintiff to pay taxes and assessments which have been or may be levied
                upon the mortgaged real estate.

          (f)   In order to protect and preserve the mortgaged real estate, it may also
                become necessary for the plaintiff to make such repairs to the real estate as
                may reasonably be deemed for the proper preservation thereof.

          (g)   Under the terms of the mortgage, any money so paid or expended has or
                will become an additional indebtedness secured by the mortgage and will

                                                     -3-
 Case 3:19-cv-01170-SMY Document 14 Filed 10/19/20 Page 4 of 7 Page ID #46




                        bear interest from the date such monies are advanced at the rate provided in
                        the mortgage, or, if no rate is provided, at the statutory judgment rate.

        6.      That Saline County, Illinois, has a valid lien on the above-described property for

tax for the year 2019, and the property will be sold subject to the interest of Saline County, resulting

from taxes, general or special, which are a valid lien against the above-described property.

        WHEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED by this Court that

judgment is entered against Marilyn F. Roberts, for $39,219.33, and unless the Defendant and/or

her assigns and successors in interest to the above-described property pay to the plaintiff, the

United States of America, acting through the Farmers Home Administration, United States

Department of Agriculture, within three days from the date of this decree the sum of $39,219.33

with attorney's fees and court costs with lawful interest to be computed thereon from this date until

paid, the real estate described in paragraph 4 of this decree shall be sold at public sale to the highest

bidder for 10% at time of sale and balance within 72 hours, subject to taxes, general or special,

due and owing to Saline County, Illinois, by the United States Marshal for the Southern District

of Illinois at the front door of the Saline County Courthouse in the City of Harrisburg, Illinois.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that judgment is entered in

favor of the United States and against, Marilyn F. Roberts, City of Harrisburg, Illinois, and State

of Illinois Department of Revenue. The real estate shall be sold free and clear of any claimed lien

of Marilyn F. Roberts, City of Harrisburg, Illinois, and State of Illinois Department of Revenue.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the United States

Marshal for the Southern District of Illinois give public notice of the time, place, and terms of such

sale, together with a description of the premises as referred to in paragraph 4 of this decree to be

sold, by previously publishing the same once each week for three (3) consecutive weeks as


                                                   -4-
 Case 3:19-cv-01170-SMY Document 14 Filed 10/19/20 Page 5 of 7 Page ID #47




provided by law in a secular newspaper of general publication in the State of Illinois, the first

publication to be not less than four weeks before the date of such sale; that said United States

Marshal may adjourn the sale so advertised by giving public notice by proclamation; that the

plaintiff or any of the parties to this cause may become the purchaser or purchasers at such sale;

that upon such sale being made, the United States Marshal shall execute and deliver to the

purchaser or purchasers a certificate of sale and that said certificate of purchase shall be freely

assignable by endorsement thereon.

       This is a foreclosure of a mortgage of residential real estate.

       The amount required to redeem shall consist of the total balance due as declared above

plus interest thereon at the statutory rate hereunder and all additional costs and other expenses

allowed by the Court.

       If the purchaser at the judicial sale of residential real estate is a mortgagor who is a party

to this proceeding or its nominee, and if the sale price is less than the amount required to redeem

specified in 735 ILCS § 5/15-1604, an owner of redemption has a special right to redeem for a

period ending 30 days after the date the sale is confirmed by paying the mortgagee the sale price

plus all additional costs and expenses incurred by the mortgagee set forth in the report of sale

and confirmed by this Court.

       The redemption period shall end at the later of the expiration of any reinstatement period

provided for in 735 ILCS § 5/15-1602 or the date 60 days after the date the judgment of foreclosure

is entered since the value of the mortgaged real estate as of the date of the judgment is less than

90% of the amount due, and the mortgagee waives any and all rights to a personal deficiency

judgment against the mortgagor and against all other persons liable for the indebtedness or other

obligations secured by the mortgage.

                                                 -5-
 Case 3:19-cv-01170-SMY Document 14 Filed 10/19/20 Page 6 of 7 Page ID #48




        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that out of the proceeds of

such sale the United States Marshal shall retain his disbursements and fees, and out of the

remainder of said proceeds he shall pay to the plaintiff $39,219.33, together with lawful interest

to be computed thereon to the date of this decree and any court costs of this action in its behalf.

Said United States Marshal shall take receipts from the respective parties from whom he may make

payments aforesaid and file the same together with his report of sale to this Court, and in case said

property shall sell for a sum more than sufficient to make the aforesaid payments, then after making

said payments he shall bring such surplus monies into Court without delay for further distribution

by order of this Court.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED from the date of entry of

this judgment of foreclosure through the 30th day after a foreclosure sale conducted pursuant to

this judgment is confirmed by this Court, the mortgagor shall be entitled to retain possession of

the above-described real estate. After the 30th day said foreclosure sale is confirmed, the holder

of the certificate of sale shall be entitled to immediate possession of the real estate upon payment

of the sale purchase price, without notice to any party or further order of the Court. The mortgagors

shall peaceably surrender possession of said property to said certificate holder immediately upon

expiration of the said 30-day time period. In default of mortgagor so doing, an order of ejectment

shall issue.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED upon or after confirmation

of sale, the person who conducted the sale or the Court shall execute a deed to the holder of the

certificate of sale sufficient to convey title, which deed shall identify the Court and the caption of

the case in which judgment was entered authorizing issuance of the deed. Signature and the recital

in the deed of the title or authority of the person signing the deed as grantor, of authority pursuant

                                                 -6-
 Case 3:19-cv-01170-SMY Document 14 Filed 10/19/20 Page 7 of 7 Page ID #49




to this judgment, and of the giving of the notices required by statute shall be sufficient proof of the

facts recited and of such authority to execute the deed, but such deed shall not be construed to

contain any covenant on the part of the person executing it.

       Delivery of the deed executed on the sale of the real estate, even if the purchaser or holder

of the certificate of sale is a party to the foreclosure, shall be sufficient to pass the title thereto.

Such conveyance shall be an entire bar of (i) all claims of parties to the foreclosure and (ii) all

claims of any non-record claimant who is given notice of the foreclosure as provided by statute.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that if the monies arising

from said sale shall be insufficient to pay sums due to plaintiff with interest as aforesaid after

deducting the costs as aforesaid, said United States Marshal shall specify the amount of said

deficiency in his report.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court hereby

retains jurisdiction of the subject matter of this cause and the parties thereto for the purpose of

enforcing this decree and that said United States Marshal shall report his actions and doings in the

premises in this Court at the earliest possible time to which time this cause is hereby continued.

       IT IS SO ORDERED.

       DATED: October 19, 2020



                                                        STACI M. YANDLE
                                                        United States District Judge




                                                  -7-
